
82 So. 3d 192 (2012)
Leonard Terrell WILLIAMS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-6072.
District Court of Appeal of Florida, First District.
March 14, 2012.
*193 Leonard Terrell Williams, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
Petitioner is granted a belated appeal of the December 8, 2010, order denying the second motion for postconviction relief in Bradford County Circuit Court case number 04-2009-CF-000296-A. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
DAVIS, CLARK, and ROWE, JJ., concur.
